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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                OCALA DIVISION

UNITED STATES OF AMERICA,

-vs-                                           CASE NO.: 5:11-mj-1039-TBS

ELEUTERIO HERNANDEZ-ECHEVARRIA.
____________________________________

                                        ORDER

       Today, the Court held a hearing on defendant, Eleuterio Hernandez-Echevarria’s

Motion for Pre-Trial Release (Doc. 42). The Court’s findings made on the record at the

conclusion of the hearing are expressly incorporated into and made a part of this Order.

The defendant has not rebutted the drug and firearm offender presumption, 18 U.S.C. §

3142(e) and the Court finds that no conditions of release could reasonably ensure the

appearance of the defendant and the safety of the community. Therefore, the

defendant’s motion is DENIED and he shall remain in the custody of the United States

Marshall Service.

       DONE AND ORDERED on this 15th day of December, 2011, in Ocala, Florida.




Copies to all Counsel
